 Fill in this information to identify your case:

 Debtor 1                   Mark Alan Fontenot
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF LOUISIANA

 Case number           19-51477
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             666,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              19,974.09

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             685,974.09

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             554,017.73

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $             735,661.98


                                                                                                                                     Your total liabilities $               1,289,679.71


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 4,158.59

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 3,970.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy



                   19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 1 of 38
 Debtor 1      Mark Alan Fontenot                                                         Case number (if known) 19-51477

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                  $               0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $               0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $               0.00

       9d. Student loans. (Copy line 6f.)                                                                $               0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy



               19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 2 of 38
 Fill in this information to identify your case and this filing:

 Debtor 1                    Mark Alan Fontenot
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF LOUISIANA

 Case number            19-51477                                                                                                                             Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        12388 Hwy. 1131
                                                                                       Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                        Duplex or multi-unit building             the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Welsh                             LA        70591-0000                         Land                                      entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                              $611,000.00                $611,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                       Debtor 1 only
        Jefferson Davis                                                                Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                house + 55.2 acres




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy



                   19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 3 of 38
 Debtor 1        Mark Alan Fontenot                                                                                     Case number (if known)          19-51477

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       12138 Hwy 1131
                                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description
                                                                              Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative
                                                                         
                                                                             Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Welsh                             LA        70591-0000                Land                                            entire property?              portion you own?
       City                              State              ZIP Code         Investment property                                        $5,000.00                      $5,000.00
                                                                             Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only
       Jefferson Davis                                                       Debtor 2 only
       County                                                                Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another             (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:

                                                                       House and 28 acres valued at $63,000. Debtor has 1/6 interest. Property
                                                                       has a usufruct.


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       Hwy 1131                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Welsh                             LA        70591-0000                Land                                            entire property?              portion you own?
       City                              State              ZIP Code         Investment property                                      $50,000.00                     $50,000.00
                                                                             Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.

                                                                             Debtor 1 only
       Jefferson Davis                                                       Debtor 2 only
       County                                                                Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:

                                                                       6 acres


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $666,000.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes




Official Form 106A/B                                                      Schedule A/B: Property                                                                               page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy



                19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 4 of 38
 Debtor 1        Mark Alan Fontenot                                                                                 Case number (if known)       19-51477
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes
  4.1    Make:                                                 Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Utillity Trailer                           Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       1990                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                     $150.00                     $150.00
                                                                     (see instructions)


  4.2    Make:                                                 Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Utility Trailer                            Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2006                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                     $250.00                     $250.00
                                                                     (see instructions)


  4.3    Make:                                                 Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Utility Trailer                            Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       1999                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                     $200.00                     $200.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                     $600.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Exempt: Wall pictures, table, bedframe                                                                                            $425.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Non exempt: I Phone, I Pad, TV                                                                                                    $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 5 of 38
 Debtor 1          Mark Alan Fontenot                                                                                       Case number (if known)   19-51477

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

                                            Exempt: Ruger 9 mm, Remington 20 gauge                                                                                     $250.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Exempt: Clothing and shoes                                                                                                 $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            Non-exempt: watch                                                                                                            $20.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $1,195.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking (-0638)                       Home Bank                                                               $85.09


Official Form 106A/B                                                                      Schedule A/B: Property                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy



                  19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 6 of 38
 Debtor 1        Mark Alan Fontenot                                                                             Case number (if known)   19-51477


                                        17.2.    Checking (-0252)             The Bank                                                                         $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                             % of ownership:

                                          MSK Enterprises, Inc.                                                       100          %                           $0.00


                                          L&W Fontenot Holdings, LLC (House and 28
                                          acres - $5,000 and 1/6 of $30,000 cash)                                    16.67         %                   $10,000.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                        Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...

Official Form 106A/B                                                   Schedule A/B: Property                                                                  page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



                19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 7 of 38
 Debtor 1        Mark Alan Fontenot                                                                                               Case number (if known)       19-51477
 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


                                                              2018                                                                      Federal                                $3,094.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Blue Cross Blue Shield Term Life
                                             Insurance Policy                                                         Sandra Lejeune                                                 $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $13,179.09


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 8 of 38
 Debtor 1         Mark Alan Fontenot                                                                                                    Case number (if known)   19-51477

    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........
                                               Non-Exempt: Timeshare - Vacation Village
                                               16461 Racquet Club Road
                                               Weston, FL 33326-3131                                                                                                              $5,000.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $5,000.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $666,000.00
 56. Part 2: Total vehicles, line 5                                                                              $600.00
 57. Part 3: Total personal and household items, line 15                                                       $1,195.00
 58. Part 4: Total financial assets, line 36                                                                  $13,179.09
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +            $5,000.00

 62. Total personal property. Add lines 56 through 61...                                                      $19,974.09              Copy personal property total              $19,974.09

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $685,974.09




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy



                  19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 9 of 38
 Fill in this information to identify your case:

 Debtor 1                 Mark Alan Fontenot
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number           19-51477
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      Exempt: Wall pictures, table,                                                                                              LSA-R.S. § 13:3881(A)(4)(a)
      bedframe
                                                                          $425.00                                   $425.00
      Line from Schedule A/B: 6.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      Exempt: Ruger 9 mm, Remington 20                                                                                           LSA-R.S. § 13:3881(A)(4)(g)
      gauge
                                                                          $250.00                                   $250.00
      Line from Schedule A/B: 10.1                                                       100% of fair market value, up to
                                                                                              any applicable statutory limit

      Exempt: Clothing and shoes                                                                                                 LSA-R.S. § 13:3881(A)(4)(a)
      Line from Schedule A/B: 11.1
                                                                          $300.00                                   $300.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Blue Cross Blue Shield Term Life                                                                                           LSA-R.S. § 22:912
      Insurance Policy
                                                                            $0.00                                      $0.00
      Beneficiary: Sandra Lejeune                                                        100% of fair market value, up to
      Line from Schedule A/B: 31.1                                                            any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
       Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         No
         Yes
Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 10 of 38
 Debtor 1    Mark Alan Fontenot                                                                 Case number (if known)   19-51477




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                      page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 11 of 38
 Fill in this information to identify your case:

 Debtor 1                   Mark Alan Fontenot
                            First Name                       Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number           19-51477
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     Shellpoint Mortgage                       Describe the property that secures the claim:              $173,871.87               $611,000.00                   $0.00
         Creditor's Name
                                                   12388 Hwy. 1131 Welsh, LA 70591
                                                   Jefferson Davis County
                                                   house + 55.2 acres
                                                   As of the date you file, the claim is: Check all that
         P.O. Box 619063                           apply.
         Dallas, TX 75261-9063                      Contingent
         Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    First Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 12 of 38
 Debtor 1 Mark Alan Fontenot                                                                               Case number (if known)         19-51477
              First Name                  Middle Name                     Last Name



 2.2
        U.S. Small Business
        Administration                             Describe the property that secures the claim:                  $380,145.86                $661,000.00                  $0.00
        Creditor's Name
                                                   12388 Hwy. 1131 Welsh, LA 70591 --
                                                   house and 55.2 acres
                                                   and
                                                   Hwy 1131 Welsh, LA 70591 -- 5
        200 W. Santa Ana Blvd.,                    acres
                                                   As of the date you file, the claim is: Check all that
        Ste. 740                                   apply.
        Santa Ana, CA 92701                         Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another  Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        5010


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $554,017.73
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $554,017.73

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
         U.S. Dept. of Treasury
         Bureau of the Fiscal Service                                                               Last 4 digits of account number
         P.O. Box 930794
         Birmingham, AL 35283-0794




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy



               19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 13 of 38
 Fill in this information to identify your case:

 Debtor 1                  Mark Alan Fontenot
                           First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                       Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number           19-51477
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                           amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

        No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          American Express                                        Last 4 digits of account number         3000                                                        $1,628.08
              Nonpriority Creditor's Name
              P.O. Box 650448                                         When was the debt incurred?
              Dallas, TX 75265-0448
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                          Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

               No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                    Other. Specify     Business Debt - Credit card purchases




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              50516                                                Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 14 of 38
 Debtor 1 Mark Alan Fontenot                                                                             Case number (if known)        19-51477

 4.2      Bank of America                                            Last 4 digits of account number       7771                                          $30,900.88
          Nonpriority Creditor's Name
          P.O. Box 15796                                             When was the debt incurred?
          Wilmington, DE 19886-5796
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.3      Bank of America                                            Last 4 digits of account number       8915                                            $9,211.80
          Nonpriority Creditor's Name
          P.O. Box 45144                                             When was the debt incurred?
          Dallas, TX 75285-1001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.4      BFLB Properties                                            Last 4 digits of account number                                                     $20,000.00
          Nonpriority Creditor's Name
          P.O. Box 1835                                              When was the debt incurred?
          Sulphur, LA 70663
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 15 of 38
 Debtor 1 Mark Alan Fontenot                                                                             Case number (if known)        19-51477

 4.5      First Insurance Funding Corp                               Last 4 digits of account number       4662                                            $3,493.34
          Nonpriority Creditor's Name
          P.O. Box 7000                                              When was the debt incurred?
          Carol Stream, IL 60197-7000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.6      Hiram Durousseaux                                          Last 4 digits of account number                                                       $5,800.00
          Nonpriority Creditor's Name
          5501 Opelousas Street                                      When was the debt incurred?
          Lake Charles, LA 70615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.7      James Fontenot                                             Last 4 digits of account number                                                     $30,000.00
          Nonpriority Creditor's Name
          9902 Hillon Hood Road                                      When was the debt incurred?
          Denham Springs, LA 70726
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 16 of 38
 Debtor 1 Mark Alan Fontenot                                                                             Case number (if known)        19-51477

 4.8      John Deere Financial                                       Last 4 digits of account number       9156                                          $10,152.03
          Nonpriority Creditor's Name
          P.O. Box 6600                                              When was the debt incurred?
          Johnston, IA 50131-6600
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.9      Lucy G. Sikes                                              Last 4 digits of account number                                                    $207,633.00
          Nonpriority Creditor's Name
          c/o Stewart Robbins & Brown, LLC                           When was the debt incurred?
          P.O. Box 2348
          Baton Rouge, LA 70821-2348
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Chapter 7 Trustee for the Estate of MSK
           Yes                                                       Other. Specify     Enterprises, Inc.

 4.1
 0        Pumpelly Oil Acquisition, LLC                              Last 4 digits of account number                                                       $5,373.18
          Nonpriority Creditor's Name
          P.O. Box 958669                                            When was the debt incurred?
          Saint Louis, MO 63195-8669
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 17 of 38
 Debtor 1 Mark Alan Fontenot                                                                             Case number (if known)        19-51477

 4.1
 1        Sandra Faye LeJeune                                        Last 4 digits of account number                                                     $10,000.00
          Nonpriority Creditor's Name
          101 Oak Tree Lane                                          When was the debt incurred?
          Rayne, LA 70578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.1
 2        TD Auto Finance                                            Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          P.O. Box 9223                                              When was the debt incurred?
          Farmington, MI 48333-9223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 3        The Bank                                                   Last 4 digits of account number       4900                                         $399,569.67
          Nonpriority Creditor's Name
          1304 North Cutting Ave.                                    When was the debt incurred?
          Jennings, LA 70546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 18 of 38
 Debtor 1 Mark Alan Fontenot                                                                             Case number (if known)        19-51477

 4.1
 4         The Levy Co.                                              Last 4 digits of account number                                                       $1,900.00
           Nonpriority Creditor's Name
           412 N. 4th Street, Ste. 200                               When was the debt incurred?
           Lake Charles, LA 70602
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community               Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Business Debt

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                          0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                          0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                          0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $                 735,661.98

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $                 735,661.98




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



               19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 19 of 38
 Fill in this information to identify your case:

 Debtor 1                 Mark Alan Fontenot
                          First Name                        Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name         Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number           19-51477
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Alan and Ashley Morgan                                                  LA Agreement to Buy or Sale (closing on 12/13/19)
              209 W Nichols St.                                                       vacant land
              Welsh, LA 70591                                                         22.7 acres @ $66,000
                                                                                      12388 Hwy. 1131, Welsh, LA 70591

     2.2      Alan and Ashley Morgan                                                  LA Agreement to Buy or Sale (closing on 12/13/19)
              209 W Nichols St.                                                       House and 32.5 acres @ $545,000
              Welsh, LA 70591                                                         12388 Hwy. 1131, Welsh, LA 70591

     2.3      AT&T                                                                    Lease of iPhone
              208 S. Akard St.
              Dallas, TX 75202

     2.4      Caldwell Banker Ingle Safari Realty                                     Listing Agreement (Term 2/28/19 to 2/28/20)
              765 Bayou Pines East                                                    Residence @ 12388 Highway 1131, Welsh, LA 70591
              Lake Charles, LA 70601

     2.5      Travis and Alyson Legros                                                LA Agreement to Buy or Sale (closing on 12/13/19)
              523 Broussard Ln.                                                       6 acres @ $50,000
              Jennings, LA 70546                                                      Highway 1131; Jeff Davis Parish
                                                                                      LOTS 1 & 2 SUB OF W1/2SW 3-10-5 & E1/2SE 4-10-5




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 20 of 38
 Fill in this information to identify your case:

 Debtor 1                   Mark Alan Fontenot
                            First Name                           Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF LOUISIANA

 Case number            19-51477
 (if known)
                                                                                                                                  Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                        In which community state or territory did you live?           Louisiana       . Fill in the name and current address of that person.
                        Sandra Faye Lejeune                                                                  Prenuptial Agreement
                        101 Oaktree Lane
                        Rayne, LA 70578
                        Name of your spouse, former spouse, or legal equivalent
                        Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:


    3.1         MSK Enterprises, Inc.                                                                  Schedule D, line        2.2
                P.O. Box 545                                                                           Schedule E/F, line
                Welsh, LA 70591
                                                                                                       Schedule G
                                                                                                      U.S. Small Business Administration



    3.2         MSK Enterprises, Inc.                                                                  Schedule D, line
                P.O. Box 545                                                                           Schedule E/F, line        4.1
                Welsh, LA 70591
                                                                                                       Schedule G
                                                                                                      American Express




Official Form 106H                                                                Schedule H: Your Codebtors                                      Page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 21 of 38
 Debtor 1 Mark Alan Fontenot                                                        Case number (if known)   19-51477


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.3      MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.2
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         Bank of America



    3.4      MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.3
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         Bank of America



    3.5      MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.4
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         BFLB Properties



    3.6      MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.5
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         First Insurance Funding Corp



    3.7      MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.6
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         Hiram Durousseaux



    3.8      MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.7
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         James Fontenot



    3.9      MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.8
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         John Deere Financial



    3.10     MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.10
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         Pumpelly Oil Acquisition, LLC




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 22 of 38
 Debtor 1 Mark Alan Fontenot                                                        Case number (if known)   19-51477


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.11
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         Sandra Faye LeJeune



    3.12     MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.13
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         The Bank



    3.13     MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.14
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         The Levy Co.



    3.14     MSK Enterprises, Inc.                                                        Schedule D, line
             P.O. Box 545                                                                 Schedule E/F, line      4.9
             Welsh, LA 70591
                                                                                          Schedule G
                                                                                         Lucy G. Sikes




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 23 of 38
Fill in this information to identify your case:

Debtor 1                      Mark Alan Fontenot

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF LOUISIANA

Case number               19-51477                                                                      Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            Superintendent
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       HD Truck & Tractor, LLC

       Occupation may include student        Employer's address
                                                                   5501 Opelousas Street
       or homemaker, if it applies.
                                                                   Lake Charles, LA 70615

                                             How long employed there?         5 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         4,051.67        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$         1,465.63        +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,517.30               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                   page 1

                19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 24 of 38
Debtor 1    Mark Alan Fontenot                                                                    Case number (if known)   19-51477


                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $         5,517.30      $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $         1,358.71      $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.     $             0.00      $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.     $             0.00      $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.     $             0.00      $               N/A
      5e.   Insurance                                                                      5e.     $             0.00      $               N/A
      5f.   Domestic support obligations                                                   5f.     $             0.00      $               N/A
      5g.   Union dues                                                                     5g.     $             0.00      $               N/A
      5h.   Other deductions. Specify:                                                     5h.+    $             0.00 +    $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,358.71      $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,158.59      $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
      8e. Social Security                                                                  8e.     $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                  0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           4,158.59 + $             N/A = $          4,158.59
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         4,158.59
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2

            19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 25 of 38
Fill in this information to identify your case:

Debtor 1                Mark Alan Fontenot                                                                 Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    WESTERN DISTRICT OF LOUISIANA                                             MM / DD / YYYY

Case number           19-51477
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                 4c.    $                           300.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1


           19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 26 of 38
Debtor 1     Mark Alan Fontenot                                                                        Case number (if known)      19-51477

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                350.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 25.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                200.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,350.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               100.00
10.   Personal care products and services                                                    10. $                                                300.00
11.   Medical and dental expenses                                                            11. $                                                 50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  40.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:     Storage unit                                                       21. +$                                                105.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,970.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,970.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,158.59
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,970.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 188.59

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


           19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 27 of 38
 Fill in this information to identify your case:

 Debtor 1                    Mark Alan Fontenot
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number              19-51477
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Mark Alan Fontenot                                                    X
              Mark Alan Fontenot                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       December 26, 2019                                              Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy




                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 28 of 38
 Fill in this information to identify your case:

 Debtor 1                  Mark Alan Fontenot
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number           19-51477
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

        No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                               Dates Debtor 2
                                                                 lived there                                                                      lived there
        12388 Hwy 1131                                           From-To:                    Same as Debtor 1                                     Same as Debtor 1
        Welsh, LA 70591                                          1998 to 7-2019                                                                   From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

        No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until
 the date you filed for bankruptcy:
                                                    Wages, commissions,                        $43,103.75          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 29 of 38
 Debtor 1      Mark Alan Fontenot                                                                          Case number (if known)   19-51477


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                        $44,000.00          Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For the calendar year before that:
 (January 1 to December 31, 2017 )
                                                    Wages, commissions,                       $108,359.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       Yes. Fill in the details.
                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.      Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 30 of 38
 Debtor 1      Mark Alan Fontenot                                                                          Case number (if known)    19-51477


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

           No
       Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 31 of 38
 Debtor 1      Mark Alan Fontenot                                                                          Case number (if known)    19-51477


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Steffes Firm, LLC                                         Retainter - $2,500                                       11/26/19 and             $2,835.00
       13702 Coursey Blvd.                                           Chapter 7 Filing Fees - $335                             12/5/19
       Building 3
       Baton Rouge, LA 70817
       nmelancon@steffeslaw.com


       Access Counseling, Inc.                                       Credit Counseling Course                                 12/4/19                      $25.00

       www.accesscounselinginc.org


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 32 of 38
 Debtor 1      Mark Alan Fontenot                                                                          Case number (if known)   19-51477


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       The Bank                                                  XXXX-0252                  Checking                   12-11-19                             $0.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

       No
           Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       U Haul Neighborhood Dealer                                    Debtor only                           Misc bed frames, son's                 No
       810 Crowley Rayne Highway                                                                           washer and dryer, financial            Yes
       Crowley, LA 70526                                                                                   records for MSK and
                                                                                                           personal, mirrors


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy



               19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 33 of 38
 Debtor 1      Mark Alan Fontenot                                                                               Case number (if known)   19-51477


      for someone.

       No
           Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       MSK Enterprises, Inc.                                         101 Oaktree Lane                           2014 Dodge 2500 Pickup Ram              $16,000.00
       P.O. Box 545                                                  Rayne, LA 70578                            (VIN xxxxxxxxxxxxx9594)
       Welsh, LA 70591

       Kade Fontenot                                                 101 Oaktree Lane                           Sofa and washer and dryer                   $250.00
       7 Sun Meadow Blvd                                             Rayne, LA 70578
       Friendswood, TX 77546

       Sandra Faye Lejeune                                           101 Oaktree Lane                           Misc household goods and                $20,000.00
       101 Oaktree Lane                                              Rayne, LA 70578                            furnishings that belong to
       Rayne, LA 70578                                                                                          debtor's wife

       Sandra Faye Lejeune                                           101 Oaktree Lane                           2014 Toyota 4Runner                     $14,000.00
       101 Oaktree Lane                                              Rayne, LA 70578
       Rayne, LA 70578

       Sandra Faye Lejeune                                           101 Oaktree Lane                           Debtor's spouse's home                 $350,000.00
       101 Oaktree Lane                                              Rayne, LA 70578
       Rayne, LA 70578


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 34 of 38
 Debtor 1      Mark Alan Fontenot                                                                          Case number (if known)   19-51477


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                       Nature of the case                       Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
       No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       MSK Enterprises, Inc.                                     Construction                                    EIN:         XX-XXXXXXX
       P.O. Box 545
       Welsh, LA 70591                                           Maureen McCown                                  From-To      2/20/1997 - Present

       L&W Fontenot Holdings, LLC                                Real Estate                                     EIN:
       12388 Hwy. 1131
       Welsh, LA 70591                                                                                           From-To      8/26/2013 - Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

       No
           Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       The Levy Co.                                              2018-2019
       412 N. 4th Street, Ste. 200
       Lake Charles, LA 70602

       The Bank                                                  2019
       Jennings, LA




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 35 of 38
 Debtor 1      Mark Alan Fontenot                                                                          Case number (if known)   19-51477


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Mark Alan Fontenot
 Mark Alan Fontenot                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date     December 26, 2019                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy



              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 36 of 38
 Fill in this information to identify your case:

 Debtor 1                 Mark Alan Fontenot
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF LOUISIANA

 Case number            19-51477
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Shellpoint Mortgage                                 Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of       12388 Hwy. 1131 Welsh, LA                          Reaffirmation Agreement.
    property             70591 Jefferson Davis County                      Retain the property and [explain]:
    securing debt:       house + 55.2 acres


    Creditor's         U.S. Small Business                                 Surrender the property.                      No
    name:              Administration                                      Retain the property and redeem it.
                                                                                                                         Yes
                                                                           Retain the property and enter into a
    Description of       12388 Hwy. 1131 Welsh, LA                           Reaffirmation Agreement.
    property             70591 -- house and 55.2 acres                     Retain the property and [explain]:
    securing debt:       and
                         Hwy 1131 Welsh, LA 70591 -- 5
                         acres

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy




                 19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 37 of 38
 Debtor 1      Mark Alan Fontenot                                                                    Case number (if known)    19-51477

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Lessor's name:                                                                                                                No
 Description of leased
 Property:                                                                                                                     Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Mark Alan Fontenot                                                       X
       Mark Alan Fontenot                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        December 26, 2019                                                Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy




              19-51477 - #11 File 12/26/19 Enter 12/26/19 10:47:41 Main Document Pg 38 of 38
